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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                     )      CRIMINAL ACTION NO.
                                              )
             Plaintiff,                       )      1:21-CR-00032-DLF
                                              )
v.                                            )
                                              )
GUY WESLEY REFFITT,                           )
                                              )
             Defendant.                       )
                                              )

     REPLY TO GOVERNMENT’S SENTENCING MEMORANDUM and
           SUPPLEMENTAL SENTENCING MEMORANDUM

     I. REPLY TO GOVERNMENT’S SENTENCING MEMORANDUM

      In its second sentence discussing the “factual background” of the January 6,

2021 attack on the Capitol, the government’s Sentencing Memorandum observes:

      Many rioters attacked and injured law enforcement officers, sometimes
      with dangerous weapons; they terrified congressional staff and others on
      the scene that day, many of whom fled for their safety, and they
      ransacked this historic building- vandalizing, damaging, and stealing art
      work, furniture and other property.

Gov’t Sentencing Memorandum at 3. Of course, as even the government must admit,

Mr. Reffitt did none of these things. Yet, despite the fact that “many rioters” did one

or more of these things and Mr. Reffitt did none of those things, the government asks

this Court to impose a sentence on Mr. Reffitt that is three times greater than the
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highest sentence imposed to date.1

       The government purports to justify this unprecedented sentencing

recommendation by claiming that Mr. Reffitt “enabled rioters” and made the many

assaults on the police officers and the entry into the Capitol by others on January 6,

2021 “possible.” See Gov’t Sentencing Memorandum at 3. Nevertheless, this claim

is as hyperbolic as many of Mr. Reffitt’s blusterings.

       Indeed, Mr. Reffitt is not seen on the Capitol staircase until approximately 1:47

p.m. with OC spray being used on him at approximately 1:50 p.m. Long prior2 the

following took place:

       12:54 Police lines on the West Side of the Capitol were first breached

       1
        This was the 63 month sentence imposed in United States v. Palmer, 1:21-CR-0328-TSC
involving the following facts:

       •Palmer was on the steps leading to the LWT tunnel and, having acquired a
       wooden plank, he threw the plank like a spear at police officers.

       •He picked up a fire extinguisher and sprayed police with its contents. Then, once
       it was empty, he threw it at police officers.

       •He then “cast around for additional items with which he could assault the
       police.” He took hold of a long piece of scaffolding wrapped in canvas and
       pushed it at the legs of the police.

       •He then picked up the fire extinguisher he previously used to assault police and
       again threw it at police.

       •Also, at some point, he picked up an orange traffic barrier and threw it towards
       the police.
       2
           See Defendant’s Sentencing Exhibit 1 at 11-14 (to be submitted under seal)

                                                  2
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       by thousands of rioters overwhelming police prior to Mr. Reffitt entering
       the prohibited area.

       1:04 Declaration of Emergency requested for National Guard support

       1:08 Capitol Police deploy OC spray on the Upper West Terrace (i.e.
       approximately 42 minutes prior to deploying OC spray toward Mr.
       Reffitt)

       1:23 Two rioters arrested for unlawful conduct at the Upper West
       Terrace (i.e. approximately 24 minutes prior to Mr. Reffitt being seen on
       the staircase).

       1:25 An additional rioter arrested for unlawful conduct at the Upper
       West Terrace (i.e. approximately 22 minutes prior to Mr. Reffitt being
       seen on the staircase).3

Moreover, video clearly shows hundreds of rioters attempting to ascent the staircase

at issue and several breaching the scaffolding at issue long prior to 1:47. Thus, while

the government may feel it necessary to claim that Mr. Reffitt “enabled rioters to

reach the West Front of the Capitol Grounds” and that his actions made assaults and

the entry to the Capitol Building “possible” in order to justify its sentencing



       3
           Additional activity prior to Mr. Reffitt’s arrival is also reported in the news media:

       1:15 “On west side of Capitol Building MPDC uses pepper spray and tasers in
       response to violent rioters.”

       1:16 Rioter used bear mace against police on West Side of the Capitol

https://nsarchive.gwu.edu/news/foia/2022-01-06/capitol-riot-chronology



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recommendation in this case, its exaggerated claims are demonstrably false. Thus,

there must be more afoot.

       In the end, and although the government rightly condemns the “grave threat to

our democratic norms”4 that the January 6 attack on the Capitol represents, it fails to

recognize the threat to the Sixth Amendment’s right to trial that its sentencing

recommendation in this case represents. The government’s Sentencing Memorandum

speaks of “deterrence.” Nevertheless, in asking this Court to sentence Mr. Reffitt to

at least a decade more in prison than defendants who assaulted police officers (with

items including fists, batons, and chemicals), what the government is really seeking

is to deter others from exercising their Sixth Amendment right to trial. In short, the

government is asking this Court to impose a draconian “trial penalty”5 of a decade or

more. There is simply no other way to explain the government’s sentencing

recommendation in this case.6

       4
           Gov’t Sentencing Memorandum at 45
       5
          “Vindictive sentencing doctrine protects a defendant from egregious instances of the
“trial penalty”—when a defendant receives a harsher sentence because she goes to trial, rejecting
a plea offer. Penalties for pressing trial rights have been discussed by courts and academics, with
both acknowledging that modern criminal adjudication is “ ‘a system of pleas, not a system of
trials.’ ” Garciav. Herbert, 2018 WL 6272778, *4 (E.D. N.Y. Nov. 30, 2018), citing, Lafler v.
Cooper, 566 U.S. 156, 170 (2012).
       6
         The government’s Sentencing Memorandum also repeatedly claims that Mr. Reffitt
“recruited” Rocky Hardie, perhaps in an attempt to secure a leadership enhancement under the
Sentencing Guidelines. See Gov’t Sentencing Memorandum at 6, 39. Nevertheless, the
government is obviously aware that Hardie testified at trial that he had already planned to travel

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               II. SUPPLEMENTAL SENTENCING MEMORANDUM

         In addition to the ten cases set forth in Mr. Reffitt’s initial sentencing

memorandum, Undersigned Counsel has located three additional cases in which a

January 6 defendant received 24 months or more imprisonment, thereby bringing the

total to 13 January 6 defendants sentenced to 24 months or more imprisonment to

date.7       Again, Undersigned Counsel obtained the following facts from the

government’s sentencing memorandums in the three additional cases, and each of the

cases involved actual assaults on police officers.

         (11) United States v. Rubenakcer, No. 1:21-cr-00193-BAH 41 months

         •One of the first people to breach the Capitol, entering the Senate Wing
         Doors within 60 seconds of the initial breach of the building.

         •After entering, he and others chased United States Capitol Police
         Officer Eugene Goodman through part of the Capitol to near the
         entrance to the Senate Chamber while the crowd was yelling “where to
         they count the votes.”




to Washington, D.C. for January 6 prior to him having any contact with Mr. Reffitt and that he
made contact with Mr. Reffitt and not the other way around. See Trial Tr. at 1107-08.
         The government also suggests that it was Mr. Reffitt who told Mr. Hardie that Mr. Hardie
needed to bring a firearm to Washington, (see Gov’t Sentencing Memorandum at 39) knowing
that Mr. Hardie previously told prosecutors that he did not remember whether it was he or Mr.
Reffitt that first suggested bringing guns to Washington, D.C. See Attachment A-1 to
Defendant’s Sentencing Memorandum.
         7
       One of the cases was inadvertently left off the list in the original Sentencing
Memorandum and the other two (defendants who were indicted jointly) occurred after the
submission of the original Sentencing Memorandum.

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      •After finally being ushered out of the Capitol by law enforcement, he
      nevertheless reentered the Capitol and headed toward the Senate
      Chamber.

      •Assaulted police officers by throwing liquids at them and swinging a
      bottle at one of them hitting the officer’s head.

      •Spent approximately an hour inside the Capitol building and, at times,
      smoking marijuana in the building. While in the building, he interacted
      with Senator Romney.

      (12) United States v. Mault, No. 1:21-cr-00657-BAH 44 months

      •Traveled from New York to Washington with his co-defendant with batons,
      pepper spray, “ass kicking boots,” a helmet and eye protection.

      •“Led the mob that penetrated the police line in the West Plaza, forcing officers
      to retreat to the Lower West Terrace. Later, with great personal effort, Mault
      made his way to the mouth of the Lower West Terrace tunnel and used
      chemical spray against the police officers who refused to yield to Mault and his
      confederates. Mault then obtained another canister of pepper spray that he
      gave to another rioter who used it to attack officers in the tunnel. The officers
      already had endured more than an hour of violent attacks before Mault
      assaulted them and helped others assault them.”

      •“After committing these offenses, Mault lied to FBI agents, minimized and
      denied his unlawful conduct, parroted baseless conspiracy theories, and,
      incredibly, portrayed himself as a victim of the events of January 6.”

      (12) United States v. Mattice, No. 1:21-cr-00657-BAH 44 months
      •Traveled from New York to Washington with co-defendant Mault and
      engaged in the same behaviors as Mault including personally using
      chemical spray to assault police officers

      In addition, because the government focused a great deal of its Sentencing

Memorandum on Mr. Reffitt’s hyperbolic threats against government officials and

                                          6
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mainstream institutions, it is also helpful to examine the July 21, 2022 sentencing in

United States v. Bancroft. There, according to the Government’s Sentencing

Memorandum in the case, Bancroft illegally entered the Capitol twice. Significantly,

she stated to others that she entered the Capitol because she was “looking for Nancy

to shoot her in the frickin’ brain.” As explained in the government’s Sentencing

Memorandum in the case:

      Her exclamation—that she had been looking for Nancy Pelosi to shoot
      her in the frickin’ brain—is among the most graphic statements uttered
      by any rioter on Capitol grounds that day, including the more cryptic
      note left by Jacob Chansley in the Senate chamber (“It’s only a matter
      of time, justice is coming”). (emphasis added)

Judge Sullivan ultimately sentenced Bancroft to 60 days imprisonment.8


                                                      Respectfully submitted,

                                                      /s/ F. Clinton Broden
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      8
          Attached hereto as Attachment A is an additional letter of support for Mr. Reffitt

                                                  7
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                         CERTIFICATE OF SERVICE

      I, F. Clinton Broden, certify that on July 25, 2022, I caused a copy of the above

document to be served via electronic filing on all counsel of record:


                                                     /s/ F. Clinton Broden
                                                     F. Clinton Broden




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